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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 UNITED STATES OF AMERICA,                                    )
                                                              )
                                            Plaintiff,        )    99 CR 771-1
                                                              )
                             vs.                              )    Judge Gary Feinerman
                                                              )
 ROBERT ROLLINS,                                              )
                                                              )
                                          Defendant.          )

                              MEMORANDUM OPINION AND ORDER

       Nearly two decades ago, Robert Rollins was sentenced to 106½ years in prison for a

series of four armed bank robberies in which nobody was physically injured. Doc. 103. The

Seventh Circuit affirmed his convictions and sentences. 301 F.3d 511 (7th Cir. 2002). Rollins

moves for a sentence reduction to time served—approximately 22 years—under 18 U.S.C.

§ 3582(c)(1)(A)(i), as amended by the First Step Act of 2018, Pub. L. No. 115-391, 132 Stat.

5194. Doc. 212. Last year, this court denied the motion without prejudice, Docs. 236-237

(reported at 2020 WL 3077593 (N.D. Ill. June 10, 2020)), but the Seventh Circuit vacated that

ruling and remanded for further consideration in light of United States v. Gunn, 980 F.3d 1178

(7th Cir. 2020). 2020 WL 7663884 (7th Cir. Nov. 30, 2020). Rollins’s motion is granted in

large part, and his custodial sentence is reduced to 28 years plus one day.

                                           Background

       Rollins was apprehended after committing a bank robbery on March 2, 1999, in

Independence, Missouri. 301 F.3d at 513; Doc. 259 at 13-14. In a proffer, which he later

repudiated, Rollins admitted to having committed four other bank robberies in Chicago during

the preceding months, from December 1998 through February 1999. 301 F.3d at 513. He turned




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26 years old just before the fourth robbery. Doc. 259 at 2. The robberies followed a common

pattern: Rollins entered a bank, approached the teller counter, and, after asking innocuous

questions about getting change or opening an account, pointed a handgun at the teller and

demanded cash. Id. at 3-4. Rollins had an accomplice to each robbery either inside the bank or

serving as a getaway driver. Ibid. He stole a total of $12,058 from the Chicago banks. Id. at 5.

        Rollins was prosecuted in two separate cases. In March 1999, he was indicted in the

Western District of Missouri for the Missouri robbery. United States v. Rollins, No. 99-cr-06001

(W.D. Mo. Mar. 24, 1999) (“Rollins I”), ECF No. 11. (Docket entries in the present case are

cited as Doc. __, while docket entries in Rollins I are cited as Rollins I, ECF No. __.) In June

1999, Rollins pleaded guilty to one count of bank robbery, 18 U.S.C. § 2113(a), and one count of

using or carrying a firearm in the commission of the robbery, id. § 924(c)(1). Rollins I, ECF

No. 23. The Rollins I court continued the sentencing while this case remained pending.

        In October 1999, Rollins was charged by indictment in this case with four counts of bank

robbery, 18 U.S.C. § 2113(a), and four counts of using or carrying a firearm in the commission

of each robbery, id. § 924(c)(1). Docs. 1, 38. A jury found Rollins guilty on all counts.

Docs. 74-75. In October 2001, the court sentenced him to 106½ years in prison. Doc. 103

(Hibbler, J.).

        At the time Rollins was sentenced, 106½ years was the minimum sentence that could

have been imposed. Doc. 259 at 20. The sentence’s first component consisted of concurrent 6½-

year terms for the bank robberies, which was the bottom end of the then-mandatory Sentencing

Guidelines range. Ibid.; see United States v. Booker, 543 U.S. 220, 233 (2005) (“The Guidelines

as written … are not advisory; they are mandatory and binding on all judges.”). The sentence’s

second component consisted of four consecutive 25-year terms for the § 924(c) charges. That




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100-year term was the statutory minimum because the then-applicable version of

§ 924(c)(1)(C)(i) imposed a 25-year minimum “[i]n the case of a second or subsequent

[§ 924(c)] conviction,” which the Supreme Court had interpreted to mean a second “finding of

guilt by a judge or jury.” Deal v. United States, 508 U.S. 129, 132 (1993). Rollins had already

pleaded guilty to a § 924(c) charge in Rollins I, so all four of his § 924(c) convictions in this case

were “second or subsequent” as Deal understood the statute, even though he had committed all

his armed robberies before he was prosecuted for any of them. Rollins’s projected release date is

February 8, 2092. Doc. 214 at 5.

       After judgment was entered in this case, the Rollins I court sentenced Rollins to 33

months in prison for the robbery and the statutory minimum of 7 years for the § 924(c)

conviction, with those sentences running consecutively to each other but concurrently with the

sentence in this case. Rollins I, ECF No. 39. The Eighth Circuit affirmed. United States v.

Rollins, 73 F. App’x 189 (8th Cir. 2003). Including his pretrial detention, Rollins has been in

federal custody for over 22 years, Doc. 259 at 1, so he has served the custodial portion of the

Rollins I sentence, with only the judgment here requiring his continued imprisonment.

       Were Rollins sentenced today for his crimes in this case, he would face a much lower

statutory minimum sentence of 28 years in prison for the four § 924(c) counts. The First Step

Act amended § 924(c) to trigger the 25-year minimum only for “a violation of this subsection

that occurs after a prior conviction under this subsection has become final.” § 403(a), 132 Stat.

at 5221-22 (codified at 18 U.S.C. § 924(c)(1)(C)). Rollins’s violations of § 924(c) all predated

the judgments in both Rollins I and this case, so his minimum sentence today would be seven

years for each count pursuant to § 924(c)(1)(A)(ii)—because he brandished a firearm—to be

served consecutively under § 924(c)(1)(D)(ii). He also would need to serve at least one day of




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consecutive time for the robbery counts. See Dean v. United States, 137 S. Ct. 1170, 1177

(2017) (“Nothing in [§ 924(c)] prevents a district court from imposing a … mandatory minimum

sentence under § 924(c) and a one-day sentence for the predicate … crime, provided those terms

run one after the other.”).

        Rollins’s motion for a sentence reduction argues that this dramatic change in sentencing

law and his exemplary record of rehabilitation in prison qualify as “extraordinary and compelling

reasons” that warrant a reduction of his sentence to time served. Doc. 214 at 14-20. As the

Government acknowledges, Doc. 226 at 2, Rollins exhausted his administrative remedies by

asking his warden to submit a § 3582(c)(1)(A) motion on his behalf, Doc. 214 at 6. When

addressing Rollins’s motion last year, this court concluded that U.S.S.G. § 1B1.13, the

Guidelines Policy Statement implementing § 3582(c)(1)(A), did not permit it to grant a sentence

reduction for a reason other than medical condition, age, or family circumstances, except on the

motion of the Director of the Bureau of Prisons. 2020 WL 3077593, at *2. The Seventh Circuit

later held in Gunn, 980 F.3d at 1180, that the Policy Statement as presently composed does not

bind district courts where, as here, a prisoner moves under § 3582(c)(1)(A) for a sentence

reduction. On the parties’ joint motion, the Seventh Circuit vacated this court’s ruling and

remanded for further proceedings in light of Gunn.

                                           Discussion

I.      Extraordinary and Compelling Reasons

        To obtain relief, Rollins must show that his case presents “extraordinary and compelling

reasons [that] warrant … a reduction” in his prison sentence. 18 U.S.C. § 3582(c)(1)(A)(i). The

starting point for this analysis is Gunn, where the Seventh Circuit held that the Policy Statement

articulated in U.S.S.G. § 1B1.13 “addresses motions and determinations of the Director, not

motions by prisoners.” 980 F.3d at 1180. Without a binding policy statement from the


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Sentencing Commission, “[t]he statute itself sets the standard: only ‘extraordinary and

compelling reasons’ justify the release of a prisoner who is outside the scope of

§ 3582(c)(1)(A)(ii).” Ibid. That said, the Seventh Circuit cautioned that the Policy Statement

and its Application Notes “provide a working definition of ‘extraordinary and compelling

reasons,’” and “a judge who strikes off on a different path risks an appellate holding that judicial

discretion has been abused.” Ibid. In short, the Seventh Circuit concluded, “[d]istrict judges

must operate under the statutory criteria—‘extraordinary and compelling reasons’—subject to

deferential appellate review.” Id. at 1181.

       The Policy Statement provides little guidance in this case. The grounds for a reduced

sentence asserted by Rollins—a stupendously long prison term that almost certainly would not

be imposed today, combined with his “admirable record of rehabilitation, and his achievements

while incarcerated,” Doc. 252 at 3—bear little resemblance to the specific “extraordinary and

compelling” reasons listed in Application Notes 1(A)-(C), which concern a defendant’s medical

condition, age, and family circumstances. U.S.S.G. § 1B1.13 n.1(A)-(C). The only potentially

applicable reason appears in Application Note 1(D), a catch-all that merely mimics the statutory

phrase “extraordinary and compelling reason” and thus provides no guidance independent of the

statute itself. U.S.S.G. § 1B1.13 n.1(D).

       Application Note 2 does bear on Rollins’s motion, but only by way of defeating an

argument advanced by the Government. In opposing the motion, the Government cites

legislative history that, by its lights, conveys that an “extraordinary and compelling reason” must

be a post-judgment change in circumstance, such as a terminal illness that manifests after

sentencing. Doc. 226 at 14 (citing S. Rep. No. 98-225 at 55-56, 121 (1983)). But Application




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Note 2 strikes a different path, making clear that a circumstance known to the sentencing court at

the time of sentencing can later justify a sentence reduction under § 3582(c)(1)(A):

         For purposes of this policy statement, an extraordinary and compelling reason
         need not have been unforeseen at the time of sentencing in order to warrant a
         reduction in the term of imprisonment. Therefore, the fact that an
         extraordinary and compelling reason reasonably could have been known or
         anticipated by the sentencing court does not preclude consideration for a
         reduction under this policy statement.

U.S.S.G. § 1B1.13 n.2.

       Beyond that, the Policy Statement does not speak to Rollins’s motion, so the court must

determine on its own whether the circumstances here qualify as “extraordinary and compelling

reasons,” 18 U.S.C. § 3582(c)(1)(A)(i), as those words are commonly used. See United States v.

Melvin, 948 F.3d 848, 852 (7th Cir. 2020) (“Unless words [in a statute] are otherwise defined,

they will be interpreted as taking their ordinary, contemporary, common meaning.”) (quotation

marks omitted). Rollins unquestionably presents a “compelling” reason for a sentence reduction.

As the court observed last year, “the four consecutive 25-year terms for the § 924(c) counts are

grossly excessive, especially because nobody was physically injured during the robberies.” 2020

WL 3077593, at *1. Given its understanding (later held in Gunn to be incorrect) that it was

powerless to reduce the sentence, the court encouraged the United States Attorney to “exercis[e]

his considerable discretion to move to vacate all but one of Rollins’s § 924(c) convictions.” Id.

at *2. No such motion was filed.

       To be sure, Rollins’s crimes were extremely serious and put many lives at risk. But a de

facto life sentence far exceeds appropriate punishment. This case epitomizes the “unjust, cruel,

and even irrational” sentences that were sometimes required in multiple-count § 924(c)

prosecutions for first-time offenders. United States v. Angelos, 345 F. Supp. 2d 1227, 1230 (D.

Utah 2004) (Cassell, J.), aff’d, 433 F.3d 738 (10th Cir. 2006). Congress in fact recognized the



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excessiveness of § 924(c)’s 25-year stacked, statutory minimum for first-time offenders when, in

the First Step Act, it amended the provision to ensure that the 25-year minimum would apply

only to recidivists. § 403(a), 132 Stat. at 5221-22. Congress applied that amendment only

prospectively, § 403(b), id. at 5222, so it does not reduce Rollins’s sentence—and, as noted

below, the court does not rely on the amendment or its non-retroactivity to find an “extraordinary

and compelling” reason for a sentence reduction under § 3582(c)(1)(A). The court merely

observes that Congress, by virtue of the significant change enacted in the First Step Act, plainly

agrees that the regime under which Rollins was sentenced resulted in excessive sentences.

       More difficult is the question whether Rollins identifies an “extraordinary” reason for a

sentence reduction. As another court observed—not that the point needs abundant authority—

“extraordinary” means “beyond what is usual, customary, regular, or common.” United States v.

Scott, 461 F. Supp. 3d 851, 862 (E.D. Wis. 2020); cf. Gray v. Zatecky, 865 F.3d 909, 912-13 (7th

Cir. 2017) (observing that a situation “that describes most habeas corpus petitioners … by

definition is not ‘extraordinary’” for purposes of the equitable tolling doctrine). The parties here

vigorously debate whether the disparity between the 106½-year sentence the law demanded at

the time of Rollins’s sentencing, on the one hand, and the much lower sentence allowed

prospectively by the First Step Act, on the other, is extraordinary in that sense.

       The Government is correct to note that “[c]hanges in the law affecting sentencing occur

with some frequency,” Doc. 253 at 13, and that Congress for whatever reason chose in the First

Step Act not to make retroactive the amendment to § 924(c)(1)(C). And it is altogether ordinary

for a federal court to impose a sentence mandated by Congress, whatever the court’s view as to

its fairness. See Chapman v. United States, 500 U.S. 453, 467 (1991) (“Congress has the power

to define criminal punishments without giving the courts any sentencing discretion.”). These




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considerations have led some judges to hold that a court cannot “effectively convert the non-

retroactivity provision [of the First Step Act] into an extraordinary ground for compassionate

release, even if yesterday’s way of applying § 924(c) produced a manifestly unreasonable

sentence by today’s standards.” United States v. Watford, 2021 WL 533555, at *1 (N.D. Ind.

Feb. 12, 2021), appeal docketed, No. 21-1361 (7th Cir.); accord, e.g., United States v.

Whitefield, 2021 WL 943103, at *5 (C.D. Ill. Mar. 12, 2021) (“This Court cannot read

retroactivity into the guidelines or the statute without clear language indicating that it is

appropriate for the Court to do so.”); United States v. Scott, 2020 WL 7417963, at *4 (N.D. Ind.

Dec. 18, 2020) (“If Congress wished for district courts to make the changes to § 924(c)

retroactive it would have said so.”), appeal docketed, No. 20-3535 (7th Cir.). Other courts have

taken the contrary view, holding that Congress’s choice not to apply the § 924(c)(1)(C)

amendment retroactively can qualify as an “extraordinary” reason for a sentence reduction under

§ 3582(c)(1)(A). See United States v. McCoy, 981 F.3d 271, 286 (4th Cir. 2020) (“The fact that

Congress chose not to make § 403 of the First Step Act categorically retroactive does not mean

that courts may not consider that legislative change in conducting their individualized reviews of

motions for compassionate release under § 3582(c)(1)(A)(i).”); United States v. Haynes, 2021

WL 406595, at *6 (C.D. Ill. Feb. 5, 2021) (citing McCoy for that proposition), appeal docketed,

No. 21-1386 (7th Cir.); United States v. Williams, 2020 WL 6940788, at *3 (N.D. Ill. Nov. 25,

2020) (“A majority of the courts to have examined this specific question agree that the change to

the § 924(c) stacking provision amounts to an extraordinary and compelling reason for a

sentence reduction.”).

       There is no need to choose sides here, for the court agrees with a distinct argument

advanced by Rollins, that “the sheer and unusual length of [his] sentence” is extraordinary.




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Doc. 255 at 4. That argument, which keys off the ordinary meaning of “extraordinary” as

“beyond what is usual, customary, regular, or common,” Scott, 461 F. Supp. 3d at 862, suggests

a more quantitative inquiry: How many § 924(c) defendants received sentences comparable to

Rollins’s sentence? It is beyond dispute that Rollins’s sentence is unusually long. He had a

Criminal History Category of III. Doc. 259 at 14. In fiscal year 2002, when Rollins was

sentenced, the average sentence for a robbery defendant in Criminal History Category III was

79.0 months. U.S. Sent’g Comm’n, 2002 Sourcebook of Federal Sentencing Statistics, tbl. 14

(2002), https://www.ussc.gov/sites/default/files/pdf/research-and-publications/annual-reports-

and-sourcebooks/2002/table14_0.pdf. The average sentence for a firearms defendant was

shorter, 52.8 months. Ibid. Granted, such general categories cover a wide range of defendants,

and Rollins was sentenced for four armed robberies, not one. But his 1278-month sentence

plainly was an extreme outlier even before the First Step Act.

       Rollins received that lengthy sentence because the Government chose to charge him with

four § 924(c) counts and because he chose to go to trial rather than cooperate or reach a plea

bargain. As the Eighth Circuit explained in affirming the Rollins I judgment, Rollins had

initially agreed to cooperate with the investigation of the Illinois robberies, but he backed out,

and the Government concluded that he was ineligible for a substantial assistance reduction under

18 U.S.C. § 3553(e). 73 F. App’x at 190. Of course, there was nothing legally improper with

the Government’s decision to charge a separate § 924(c) count for each of Rollins’s four armed

robberies. See Bordenkircher v. Hayes, 434 U.S. 357, 364 (1978) (“[S]o long as the prosecutor

has probable cause to believe that the accused committed an offense defined by statute, the

decision whether or not to prosecute, and what charge to file or bring before a grand jury,

generally rests entirely in his discretion.”); United States v. Scott, 631 F.3d 401, 407 (7th Cir.




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2011) (“[O]ur case law embodies the long-settled principle that we safeguard prosecutorial

discretion by shielding it from judicial review that either forces the prosecutor to act in a

prescribed manner or penalizes the prosecutor for acting in his preferred manner.”).

Nevertheless, given the plain meaning of the term “extraordinary,” it is significant that this

particular confluence of events—four stacked § 924(c) charges for a first-time offender who

exercised his constitutional right to put the Government to its proof at trial—is highly unusual.

       Two more recent Sentencing Commission reports shed additional light on the rarity of

these circumstances. A 2011 report, based on 2010 data, provides more granular information

regarding average sentences than the 2002 report cited above. The average sentence in fiscal

year 2010 for a defendant convicted under § 924(c)(1)(C)(i) was 415 months, less than a third of

the sentence Rollins received. U.S. Sent’g Comm’n, 2011 Report to the Congress: Mandatory

Minimum Penalties in the Federal Criminal Justice System, tbl. D-3 (Oct. 2011),

https://www.ussc.gov/sites/default/files/pdf/news/congressional-testimony-and-

reports/mandatory-minimum-penalties/20111031-rtc-pdf/Appendix_D.pdf.

       A 2018 report specifically about firearms sentences contains even more detail. In fiscal

year 2016—fourteen years after Rollins was sentenced, but the only year for which these data are

readily available—a total of 1,976 defendants were convicted of a § 924(c) charge. U.S. Sent’g

Comm’n, Mandatory Minimum Penalties for Firearms Offenses in the Federal Criminal Justice

System, at 19 (Mar. 2018), https://www.ussc.gov/sites/default/files/pdf/research-and-

publications/research-publications/2018/20180315_Firearms-Mand-Min.pdf. Of those

defendants, only 156 (about 7.9 percent) were convicted of multiple § 924(c) counts. Ibid.

Rollins belongs to an even more select group: those convicted of more than three § 924(c) counts

in a single prosecution. In 2016, only fourteen defendants—about 0.7 percent of all § 924(c)




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defendants—fell into that category. Id. at 20. Furthermore, 35.5 percent of offenders convicted

of multiple § 924(c) counts were relieved from the mandatory minimum prison term at

sentencing pursuant to 18 U.S.C. § 3553(e). Id. at 27. So, on the assumption that these

proportions are roughly steady over time, very few defendants per year match Rollins’s specific

profile: more than three § 924(c) convictions, and no relief from the statutory minimum for

substantial assistance. They represent a fraction of a percentage point of all § 924(c) defendants.

       So, in a quantitative sense, Rollins’s sentence was a highly uncommon one. And there is

another winnowing factor: Rollins’s rehabilitation in the two decades since he was sentenced.

He has a clean prison disciplinary record, without any violent infractions. Doc. 214 at 18-19;

Doc. 252 at 5. He voluntarily participated in an eight-month course focused on helping inmates

appreciate the severity of their crimes and the impact they had on their victims. Doc. 214 at 18.

He has worked as a cook in prison and hopes to find employment using those skills upon his

release. Id. at 19. In short, he has demonstrated that he is committed to living a law-abiding life

should he be given that chance.

       The Government does not contest the facts concerning Rollins’s rehabilitation. Doc. 226

at 19-20; Doc. 253 at 18. It instead argues that the court may not consider those facts due to

Congress’s command that “[r]ehabilitation of the defendant alone shall not be considered an

extraordinary and compelling reason.” 28 U.S.C. § 994(t) (emphasis added). Similarly,

Application Note 3 of U.S.S.G. § 1B1.13 states that “rehabilitation of the defendant is not, by

itself, an extraordinary and compelling reason for purposes of this policy statement.” U.S.S.G.

§ 1B1.13 n.3 (emphasis added). Given their use of the qualifiers “alone” and “by itself,” those

provisions plainly indicate that while rehabilitation cannot stand on its own as an extraordinary

reason for a reduced sentence, it can play a supporting role in the analysis.




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          That is the case here. Rollins’s sentence was exceedingly rare, resulting from the

combination of the Government’s charging decision and Rollins’s decision to proceed to trial

rather than cooperate and plead. Even within the small group of defendants who received similar

sentences for § 924(c) convictions, Rollins’s commitment to bettering himself and behaving

properly in prison over the course of two decades sets him apart, at the very least from some in

that group. The sheer rarity of Rollins’s astonishingly long 106½-year sentence combined with

his rehabilitation qualify as reasons that are beyond what is usual, customary, or regular—that is,

reasons that are “extraordinary” within the meaning of § 3582(c)(1)(A).

          In sum, Rollins has demonstrated extraordinary and compelling reasons for a sentence

reduction.

II.       Section 3553(a) Factors

          To grant Rollins’s motion, the court must also find that a sentence reduction is warranted

under the factors set forth in 18 U.S.C. § 3553(a) “to the extent that they are applicable.” Id.

§ 3582(c)(1)(A); see United States v. Saunders, 986 F.3d 1076, 1077 (7th Cir. 2021) (affirming

the denial of a § 3582(c)(1)(A) motion, despite the existence of extraordinary and compelling

reasons, where the district court found that the § 3553(a) factors did not warrant a reduction).

Section 3553(a) requires the court, upon considering seven factors, to impose a sentence that is

“sufficient, but not greater than necessary,” to comply with the purposes of a criminal sentence

set forth in § 3553(a)(2). 18 U.S.C. § 3553(a). Under the particular facts and circumstances of

this case, the court finds that the 106½-year sentence imposed on Rollins is far more than

necessary to fulfill the purposes of a criminal sentence, and instead finds that a sentence of 28

years plus one day is sufficient, but no more than necessary.

          The first § 3553(a) factor is “the nature and circumstances of the offense and the history

and characteristics of the defendant.” Id. § 3553(a)(1). Rollins’s crimes were gravely serious.


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Although thankfully nobody was physically injured, any armed robbery—not to mention four of

them—puts life in danger, and one bank teller reported psychological injuries. Doc. 259 at 5.

       Rollins’s personal history and characteristics are mixed. On the mitigating side, he was

relatively young, between 25 and 26, when he committed this string of robberies. He had only

two prior convictions: one for unlawful possession of a weapon at age 18, and one for

obstructing an officer at age 20, both of which led to suspended sentences. Doc. 259 at 12-13.

Rollins served in the Army for two years, between 1991 and 1993, and as a National Guard

reservist following his honorable discharge. Id. at 16, 18-19. He was consistently employed in

the years preceding the robberies. Id. at 19. Finally, as noted, he has a favorable record of

rehabilitation during the two decades since his sentencing, which may properly be considered in

assessing his personal characteristics at this stage. See United States v. Shaw, 957 F.3d 734, 741

(7th Cir. 2020) (holding that a “district court may consider evidence of a defendant’s post-

sentencing rehabilitation when deciding whether to impose a reduced sentence under the First

Step Act”).

       On the aggravating side, Rollins had two arrests for assaults that did not lead to criminal

charges. Doc. 259 at 15. Most troubling, on September 4, 1998, a few months before the first

bank robbery, he was arrested and charged with aggravated discharge of a firearm for firing a

pistol at a vehicle he knew to be occupied. Ibid.; see 720 ILCS 5/24-1.2(a)(2). It appears that

nobody was injured, and little information about the incident is available in the record. But state

court records reveal that Rollins was ultimately convicted of that offense and sentenced to time

served on April 24, 2003. In re Rollins, No. 1998 CR 2591401 (Cir. Ct. of Cook Cnty., Ill. filed

Sept. 30, 1998). Given all this, a substantial but not excessively long term of imprisonment, 28




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years and one day, is warranted based on the nature and circumstances of Rollins’s crimes and

his history and characteristics.

       The second § 3553(a) factor requires consideration of the need for a sentence “to reflect

the seriousness of the offense, to promote respect for the law, and to provide just punishment for

the offense” and “to afford adequate deterrence to criminal conduct.” 18 U.S.C.

§ 3553(a)(2)(A)-(B). For the reasons just given, 28 years in prison adequately meets those goals.

Although it is unnecessary to do so, it also bears mention that the average federal sentence for

murder in fiscal year 2002 was 232.7 months, or a bit over 19 years. U.S. Sent’g Comm’n, 2002

Sourcebook of Federal Sentencing Statistics, tbl. 13 (2002),

https://www.ussc.gov/sites/default/files/pdf/research-and-publications/annual-reports-and-

sourcebooks/2002/table13_0.pdf. Rollins’s crimes, while very serious, were far less serious than

murder. If a 19-year sentence for murder serves to reflect the seriousness of that offense, to

promote respect for the law, to provide just punishment for the offense, and to deter others from

committing murder, then a 28-year sentence surely does the same for armed bank robberies, even

for four of them.

       The second § 3553(a) factor also requires the court to consider the need to “protect the

public from further crimes of the defendant” and “provide the defendant with needed educational

or vocational training, medical care, or other correctional treatment in the most effective

manner.” 18 U.S.C. § 3553(a)(2)(C)-(D). Rollins’s criminal conduct in 1998 and 1999—the

robberies charged here and in Missouri, and the unlawful discharge of a firearm charged in state

court—show that he posed a serious danger to the public at the time he entered federal custody.

On the positive side, over the past two decades, Rollins has taken advantage of the resources and

rehabilitative opportunities available to him in prison. His exemplary prison record supports the




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proposition that he would not pose a danger to the public if released. Rollins also has a

supportive family, and he plans to live with his sister if released. Doc. 214 at 19. This family

support is likely to reduce the risk that Rollins will reoffend upon his release. See United States

v. Warner, 792 F.3d 847, 864 (7th Cir. 2015). A 28-year prison term will be sufficient to protect

the public and will have provided Rollins with needed correctional treatment.

       The third, fourth, and fifth § 3553(a) factors require the court to consider the kinds of

sentences available, the Guidelines range, and any pertinent policy statements. 18 U.S.C.

§ 3553(a)(3)-(5). A defendant convicted under § 924(c) may not be sentenced to probation, id.

§ 924(c)(1)(D)(i), and, as noted, the minimum statutory sentence Rollins could have received at

sentencing was 100 years (for the four § 924(c) counts) plus one day (for the four bank

robberies). His Guidelines range was 78 to 97 months for the bank robberies, Doc. 259 at 20,

plus 1200 months for the § 924(c) charges, for a total of 1278 to 1297 months. See U.S.S.G

§ 2K2.4(a)(2) (2000) (providing that, for a § 924(c) conviction, “the guideline sentence is the

minimum term of imprisonment required by statute”); id. § 5G1.2(a) (“[T]he sentence to be

imposed on a count for which the statute (1) specifies a term of imprisonment to be imposed; and

(2) requires that such term of imprisonment be imposed to run consecutively to any other term of

imprisonment, shall be determined by that statute and imposed independently.”); see also

Freeman v. United States, 564 U.S. 522, 527-28 (2011). Were Rollins freshly sentenced today,

the 28-year statutory minimum for the § 924(c) charges and the 78 to 97-month range for the

bank robberies—assuming that range would hold—would result in a Guidelines range of 414 to

433 months, or 34½ years to just over 36 years. For the reasons given above, a sentence of 28

years and one day, though substantially below the original statutory minimum and somewhat

below the current Guidelines range, is sufficient but no greater than necessary to accomplish the




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goals of sentencing. And as already explained, reducing Rollins’s sentence to 28 years would be

consistent with the non-binding U.S.S.G. § 1B1.13.

       Circling back to the third factor, the Government correctly does not dispute that

§ 3582(c)(1)(A) empowers the court to reduce a sentence to below the applicable statutory

minimum if § 3582(c)(1)(A)’s requirements are met. In Gunn itself, the defendant had been

convicted of a § 924(c) charge and had not yet served the 5-year minimum sentence when the

district court denied her § 3582(c)(1)(A) motion. See United States v. Gunn, 2021 WL 719889,

at *1 (C.D. Ill. Feb. 24, 2021) (order and opinion on remand). The Seventh Circuit nevertheless

remanded for the district court to apply § 3582(c)(1)(A), a disposition that would have made no

sense if § 3553(a)(3) barred any sentence reduction resulting in a sentence below the statutory

minimum. Gunn, 980 F.3d at 1181; see also United States v. Maday, 799 F.3d 776, 778 (7th Cir.

2015) (stating in dicta that a defendant serving a 62-year statutory minimum sentence might one

day qualify for release under § 3582(c)(1)(A)).

       The sixth factor is “the need to avoid unwarranted sentence disparities among defendants

with similar records who have been found guilty of similar conduct.” Id. § 3553(a)(6). This

factor favors a sentence reduction due to the extreme disparity between Rollins’s 106½-year

sentence and sentences imposed after enactment of the First Step Act on similar defendants with

similar records. As noted, a defendant convicted today of the same charges as Rollins would

face a statutory minimum prison term of 28 years plus one day. See 18 U.S.C.

§ 924(c)(1)(A)(ii), (D)(ii); Dean, 137 S. Ct. at 1177. Considering the broader set of defendants

convicted of multiple § 924(c) counts in a single prosecution, the First Step Act sharply reduced

the proportion of such defendants receiving one or more 25-year terms. Comparing fiscal year

2018 to the one-year period immediately following passage of the First Step Act, the number of




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multiple-count § 924(c) offenders actually rose, from 127 to 215. U.S. Sent’g Comm’n, The

First Step Act of 2018: One Year of Implementation, at 2, 36 (Aug. 2020),

https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-

publications/2020/20200831_First-Step-Report.pdf. Yet the number of multiple-count § 924(c)

offenders sentenced to at least one 25-year term fell precipitously, from 119 in 2018 to only 5 in

the year after the First Step Act. Id. at 37. This means that the overwhelming majority of

defendants like Rollins convicted of multiple § 924(c) counts no longer receive even a single 25-

year term. The 25-year terms that Rollins received have nearly disappeared; as the Sentencing

Commission observed, “five-, seven-, and ten-year penalties typically replaced what would have

been a 25-year penalty prior to the First Step Act.” Ibid.

       The disparity between the sentence Rollins received two decades ago and the sentences

now imposed on similarly situated defendants may or may not bear on the question whether there

are “extraordinary and compelling reasons” for a sentence reduction under § 3582(c)(1)(A)(i).

But the disparity is unquestionably relevant under § 3553(a)(6) and strongly supports Rollins’s

motion. That said, reducing Rollins’s sentence to below 28 years plus one day—and, in

particular, to the time-served sentence he seeks—would create a reverse disparity, as similar

defendants with similar records today necessarily would receive a higher sentence than the

reduced sentence given Rollins. The sixth factor therefore supports a sentence of 28 years plus

one day and, at the same time, counsels against any sentence lower than that.

       The seventh factor is “the need to provide restitution to any victims of the offense.” Id.

§ 3553(a)(7). As required by law, the judgment ordered Rollins to make restitution to the banks

in the amount of $12,058. Doc. 103; see 18 U.S.C. § 3663A(c)(1)(A)(i) (requiring restitution for

any crime of violence). Although this factor is not terribly significant in light of the others, there




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is no question that Rollins would be better able to repay that debt outside of prison, gainfully

employed, than if imprisoned for the rest of his life.

III.    Danger to the Community

        Finally, the non-binding but still persuasive Policy Statement states that a sentence

reduction is appropriate only if the defendant “is not a danger to the safety of any other person or

to the community.” U.S.S.G. § 1B1.13(2). As the Seventh Circuit recently explained, U.S.S.G.

§ 1B1.13(2) “matches the standard under § 3553(a)(2)(C).” United States v. Burnley, 834

F. App’x 270, 272 (7th Cir. 2021). For the reasons stated above as to § 3553(a)(2)(C), the court

finds that Rollins no longer presents a danger to the community for purposes of U.S.S.G.

§ 1B1.13(2). His lack of any violent infractions in prison and family support make it unlikely

that he will reoffend after his release.

                                            Conclusion

        The court grants Rollins’s § 3582(c)(1)(A) motion and reduces his custodial sentence to

28 years plus one day. An amended judgment and commitment order will follow shortly. The

Government and/or the Probation Office are invited to move the court to make any appropriate

modifications to the conditions of Rollins’s supervised release.



March 17, 2021                                           ___________________________________
                                                               United States District Judge




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